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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                  )
                                                  )
                                                  )
UNITED STATES OF AMERICA
                                                  )     CRIM. NO. 1:19-CR-10195-WGY
                        v.                        )
                                                  )
HAOYANG YU,                                       )
                                                  )
                      Defendant.                  )
                                                  )

                 NOTICE OF APPEARANCE OF WILLIAM D. WEINREB
                 ON BEHALF OF NON-PARTY ANALOG DEVICES, INC.

To the Clerk of this Court and all parties of record:

       Please enter my appearance as counsel for non-party Analog Devices, Inc. in the above-

captioned matter.


                                               Respectfully submitted,


Date: October 11, 2023
                                                 /s/ William D. Weinreb
                                                 William D. Weinreb (BBO# 557826)
                                                 QUINN EMANUEL URQUHART & SULLIVAN, LLP
                                                 111 Huntington Avenue, Suite 520
                                                 Boston, MA 02199
                                                 Tel: (617) 712-7100
                                                 billweinreb@quinnemanuel.com

                                                 Attorney for Analog Devices, Inc.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed today through the Court’s ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),
and that paper copies will be sent by U.S. Mail to those indicated as non-registered participants on
October 11, 2023.

                                                      /s/ William D. Weinreb
                                                        William D. Weinreb




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